4:03-cr-03085-RGK-DLP        Doc # 170      Filed: 07/26/05   Page 1 of 1 - Page ID # 624




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

USA,                                        )
                                            )
              Plaintiff,                    )                  4:03cr3085
                                            )
       v.                                   )
                                            )
VERNON STRAUCH,                             )                    ORDER
                                            )
              Defendants.                   )
                                            )
                                            )



       The Clerk's Office has requested that Document Number 168 be stricken from

the record for the following reason(s):

              •       Incorrect pdf document attached.

       IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document

Number 168 from the record. The party is directed to re-file the document.

       DATED this 26th day of July, 2005.

                                          BY THE COURT:


                                          s/ Richard G. Kopf
                                          United States District Judge
